       -.
            Case 3:12-cr-04711-DMS                      Document 398               Filed 12/11/14             PageID.1181              Page 1 of 4

     ~245B (CASD) (Rev. 4114)       Judgment in a Criminal Case                                                                       FILED
                                                                                                                                 1 " - - - -...____
  /'            Sheet 1
                                                                                                                                      nrf' ..   <II   I'ln.




                                               UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                         v.                                         (For Offenses Committed On or After November 1, 1987)

                JAMES LAWRENCE SNOWDEN, III (10)                                    Case Number: 12CR4711-DMS
                                                                                    Michael R McDonnell RET
                                                                                    Defendant' 5 Attorney
     REGISTRATION NO. 24803171

     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) 1 of the Superseding Infonnation

     D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number(s)
21 USC 846, 841(a)(1)                 CONSPIRACY TO DISTRIBUTE COCAINE




        The defendant is sentenced as provided in pages 2 through _ _.. ;.4_ _ ofthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D    The defendant has been found not guilty on count(s)
                                                             ------------------------------
 181 Count(s) in underlying Indictment                                               is   181   areD dismissed on the motion of the United States.
 181 Assessment: $100.00.

  181 Fine waived                                   D    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               DECEMBER 11,2014




                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                              12CR471l-DMS
Case 3:12-cr-04711-DMS   Document 398   Filed 12/11/14   PageID.1182   Page 2 of 4
Case 3:12-cr-04711-DMS   Document 398   Filed 12/11/14   PageID.1183   Page 3 of 4
Case 3:12-cr-04711-DMS   Document 398   Filed 12/11/14   PageID.1184   Page 4 of 4
